

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-38,113-02




					


EX PARTE ANTRON ROMEL BLAYLOCK, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 13,170 IN THE 115TH JUDICIAL  DISTRICT COURT


FROM UPSHUR COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of delivery of a
controlled substance and sentenced to sixty-five years' imprisonment.   

	Applicant contends that his appellate counsel rendered ineffective assistance because  counsel
failed to timely file a notice of appeal.  Although counsel filed a timely motion for a new trial, the
notice of appeal was filed after the appellate deadline, and Applicant's appeal was dismissed for
want of jurisdiction.  Blaylock v. State, No. 06-05-00210-CR (Tex. App. - Texarkana, September
23, 2005, no pet.).

	Applicant has alleged facts that, if true, might entitle his to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).   In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1997), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide appellate counsel with the opportunity to respond to Applicant's claim of ineffective
assistance of counsel on appeal.  The trial court may use any means set out in Tex. Code Crim.
Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court may rely on its personal recollection. 
Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether Applicant was denied his  right to
a meaningful appeal because Applicant's appellate counsel failed to timely file a notice of appeal. 
The trial court shall also make any other findings of fact and conclusions of law that it deems
relevant and appropriate to the disposition of applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 


Filed: January 10, 2007

Do not publish 


